History Arrest/Booking Report                                                                                                                                   MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                                                        TN0540000
All history bookings for inmate #3775
Report generated on                                Wednesday January 2 2019 12:48 PM                                                                                                                   Page 1 of 15

                           Defendant Name (Last, First Middle)                                   Race                                              Sex         DOB            Place of birth
                             JONES, JERROD IVAN                                                        Black/Non-Hisp.                                Male                      ATHENS

                                                                 Age at booking
                                                                                                Height Weight                            Hair     Eyes    INS No                      Social Security No.
                                                                 Current Age                     604      195                            BRO      BRO                                    ** INFO WITHHELD **
                                                                 Visible Scars and Marks                                                                  SID Number                  FBI Number
                                                                                                                                                          ** INFO WITHHELD **         ** INFO WITHHELD **

                                                                 Address                                                                                                              Phone Number
                                                                 231 WOODWARD AVE                                                                                                     (423) 999-3132
                                                                 ATHENS, TN 37303                                                                                       DLN - State 117079392
PERSONAL DATA




                           Photo ID                              Alias(es)
                           17819

                           Last Known Employer                   Arresting Agency                                                                         Arresting Officer No. / Name
                           DYNASTY SPAS                          MCSO - MCMINN CO SHERIFF'S DEPARTMENT                                                    427 - J. KING

                           Booking Officer No. / Name                   Fingerprinted by Officer No. / Name                               OCA                                 OTN
                           457 - D. CRANFIELD                           461 - M. MOSES                                                                                        ** INFO WITHHELD **
                           Arrest Date / Time         Book Date / Time            Location(s)
                            08/29/2011      1415       08/29/2011    1745

                           Classification             Classification Officer No. / Name            Class. Date                            Classification Remarks
                           MEDIUM                     457 - D. CRANFIELD
                           Remarks
RELEASE




                           Release Date / Time        Release Type                Releasing Officer                                                Remarks                                         Time Served
                            10/10/2011     1720       SERVED SENTENCE             457 - D. CRANFIELD                                                                                               42 days

                           Offense Date     Cnt        Statute         UCR        Type     Case No.                                    Offense Date     Cnt      Statute        UCR        Type    Case No.
                            08/29/2011       1        57-5-301                    Misd.                                                 08/29/2011       1    39-17-409,410                Misd.
   CHARGE




                                                                                                                CHARGE




                           Charge                                                                                                      Charge
                           VIOLATION ALCOHOLIC BEVERAGE LAWS                                                                           SCHEDULE III DRUG VIOLATIONS
    DISPOSITION LOCATION




                                                                                                                DISPOSITION LOCATION




                              At/Near Offense Location                  Arrest Location                                                   At/Near Offense Location              Arrest Location
                                Yes   COUNTY                            COUNTY                                                              Yes   COUNTY                        COUNTY

                           Date             Term                                                                                       Date           Term

                           Sentence                                                                                                    Sentence


                           Offense Date     Cnt       Statute          UCR        Type     Case No.
                            08/29/2011       1       39-17-415                    Misd.
   CHARGE




                           Charge
                           SCHEDULE VI DRUG VIOLATIONS
    DISPOSITION LOCATION




                              At/Near Offense Location                  Arrest Location
                                Yes   COUNTY                            COUNTY

                           Date             Term

                           Sentence




                                                                                                                                                                                EXHIBIT A
Eagle Advantage Solutions, Inc.
                                                   Case 3:25-cv-00074-KAC-DCP                           Document 1-1                                     Filed 02/21/25           Page 1 of 15
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History Arrest/Booking Report                                                                                                                                 MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                                                      TN0540000
All history bookings for inmate #3775
Report generated on                                Wednesday January 2 2019 12:48 PM                                                                                                                 Page 2 of 15

                           Defendant Name (Last, First Middle)                                Race                                               Sex         DOB            Place of birth
                             JONES, JERROD IVAN                                                      Black/Non-Hisp.                                Male                      ATHENS

                                                              Age at booking
                                                                                             Height Weight                             Hair     Eyes    INS No                      Social Security No.
                                                              Current Age                     604       195                            BRO      BRO                                    ** INFO WITHHELD **
                                                              Visible Scars and Marks                                                                   SID Number                  FBI Number
                                                                                                                                                        ** INFO WITHHELD **         ** INFO WITHHELD **

                                                              Address                                                                                                               Phone Number
                                                              231 WOODWARD AVE                                                                                                      (423) 999-3132
                                                              ATHENS, TN 37303                                                                                        DLN - State 117079392
PERSONAL DATA




                           Photo ID                           Alias(es)
                           20179

                           Last Known Employer                Arresting Agency                                                                          Arresting Officer No. / Name
                           DYNASTY SPAS                       MCSO - MCMINN CO SHERIFF'S DEPARTMENT                                                     449 - J. HARRISON

                           Booking Officer No. / Name                Fingerprinted by Officer No. / Name                                OCA                                 OTN
                           454 - J.HARRISON                          455 - J. SWAFFORD                                                                                      ** INFO WITHHELD **
                           Arrest Date / Time         Book Date / Time         Location(s)
                            04/05/2012      1542       04/05/2012    2155

                           Classification             Classification Officer No. / Name         Class. Date                             Classification Remarks

                           Remarks
RELEASE




                           Release Date / Time        Release Type             Releasing Officer                                                 Remarks                                         Time Served
                            06/04/2012     1421       SERVED SENTENCE          459 - L. RUEBUSH                                                                                                  60 days

                           Offense Date     Cnt       Statute       UCR         Type      Case No.                                   Offense Date     Cnt      Statute        UCR        Type    Case No.
                            05/01/2012       1       TITLE 29                  Felony                                                 04/05/2012              TITLE 29                   Misd.
   CHARGE




                                                                                                              CHARGE




                           Charge                                                                                                    Charge
                           VIOLATIONS AGAINST THE COURT OR AGAINST COURT                                                             VIOLATIONS AGAINST THE COURT OR AGAINST COURT
                           ORDERS/INJUNCTIONS                                                                                        ORDERS/INJUNCTIONS
    DISPOSITION LOCATION




                                                                                                              DISPOSITION LOCATION




                              At/Near Offense Location               Arrest Location                                                    At/Near Offense Location              Arrest Location



                           Date             Term                                                                                     Date           Term

                           Sentence                                                                                                  Sentence




Eagle Advantage Solutions, Inc.
                                                   Case 3:25-cv-00074-KAC-DCP                         Document 1-1                                     Filed 02/21/25           Page 2 of 15
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History Arrest/Booking Report                                                                                                                                 MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                                                      TN0540000
All history bookings for inmate #3775
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                           Defendant Name (Last, First Middle)                                  Race                                              Sex         DOB           Place of birth
                             JONES, JERROD IVAN                                                        Black/Non-Hisp.                                Male                    ATHENS

                                                                Age at booking
                                                                                               Height Weight                             Hair   Eyes    INS No                      Social Security No.
                                                                Current Age                     604       195                            BRO    BRO                                    ** INFO WITHHELD **
                                                                Visible Scars and Marks                                                                 SID Number                  FBI Number
                                                                                                                                                        ** INFO WITHHELD **         ** INFO WITHHELD **

                                                                Address                                                                                                             Phone Number
                                                                231 WOODWARD AVE                                                                                                    (423) 999-3132
                                                                ATHENS, TN 37303                                                                                      DLN - State 117079392
PERSONAL DATA




                           Photo ID                             Alias(es)
                           25656

                           Last Known Employer                  Arresting Agency                                                                        Arresting Officer No. / Name
                           DYNASTY SPAS                         MCSO - MCMINN CO SHERIFF'S DEPARTMENT                                                   461 - M. MOSES

                           Booking Officer No. / Name                  Fingerprinted by Officer No. / Name                                OCA                               OTN
                           459 - L. RUEBUSH                            471 - B. GREENLAW                                                                                    ** INFO WITHHELD **
                           Arrest Date / Time           Book Date / Time         Location(s)
                            08/06/2013      1607         08/06/2013    1607      MCSO

                           Classification               Classification Officer No. / Name         Class. Date                             Classification Remarks
                           MINIMUM                      459 - L. RUEBUSH
                           Remarks
RELEASE




                           Release Date / Time          Release Type             Releasing Officer                                                Remarks                                        Time Served
                            05/27/2015     1750         TRANSFER                 447 - L. RUEBUSH                                                                                                659 days

                           Offense Date     Cnt          Statute       UCR       Type       Case No.                                   Offense Date   Cnt       Statute       UCR        Type    Case No.
                            10/29/2013                  TITLE 29                                                                        08/06/2013     1       TITLE 29                  Misd.
   CHARGE




                                                                                                                CHARGE




                           Charge                                                                                                      Charge
                           VIOLATIONS AGAINST THE COURT OR AGAINST MEIGS CO                                                            VIOLATIONS AGAINST THE COURT ( POSS OF SCH 4)
    DISPOSITION LOCATION




                                                                                                                DISPOSITION LOCATION




                              At/Near Offense Location                 Arrest Location                                                    At/Near Offense Location            Arrest Location



                           Date             Term                                                                                       Date           Term
                                                                                                                                        08/16/2013    120 day(s)
                           Sentence                                                                                                    Sentence
                                                                                                                                       CFTS TO FLATTEN

                           Offense Date     Cnt          Statute       UCR        Type      Case No.
                            08/06/2013       1          TITLE 29                 Felony
   CHARGE




                           Charge
                           VIOLATIONS AGAINST THE COURT ( FACILITAION TO COMMITT
                           ROBBERY)
    DISPOSITION LOCATION




                              At/Near Offense Location                 Arrest Location



                           Date             Term
                            08/12/2013      4 year(s)
                           Sentence
                           REVOKE TO SERVE CFTS




Eagle Advantage Solutions, Inc.
                                                   Case 3:25-cv-00074-KAC-DCP                           Document 1-1                                    Filed 02/21/25          Page 3 of 15
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History Arrest/Booking Report                                                                                              MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                  TN0540000
All history bookings for inmate #3775
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                  Defendant Name (Last, First Middle)                                Race                      Sex         DOB           Place of birth
                    JONES, JERROD IVAN                                                      Black/Non-Hisp.       Male                     ATHENS

                                                     Age at booking
                                                                                   Height Weight       Hair   Eyes   INS No                     Social Security No.
                                                     Current Age                    604        195    BRO     BRO                                   ** INFO WITHHELD **
                                                     Visible Scars and Marks                                         SID Number                 FBI Number
                                                                                                                     ** INFO WITHHELD **        ** INFO WITHHELD **

                                                     Address                                                                                    Phone Number
                                                     231 WOODWARD AVE                                                                           (423) 999-3132
                                                     ATHENS, TN 37303                                                              DLN - State 117079392
PERSONAL DATA




                  Photo ID                           Alias(es)
                  32607

                  Last Known Employer                Arresting Agency                                                Arresting Officer No. / Name
                  DYNASTY SPAS                       APD - ATHENS POLICE DEPARTMENT                                  130 - WALKER

                  Booking Officer No. / Name                Fingerprinted by Officer No. / Name         OCA                              OTN
                  457 - A. SCRUGGS                          457 - A. SCRUGGS                                                             ** INFO WITHHELD **
                  Arrest Date / Time         Book Date / Time         Location(s)
                   07/06/2015      0911       07/06/2015    0911      ATHENS LODGE

                  Classification             Classification Officer No. / Name         Class. Date      Classification Remarks
                  MINIMUM                    457 - A. SCRUGGS
                  Remarks
RELEASE




                  Release Date / Time        Release Type             Releasing Officer                        Remarks                                        Time Served
                   07/09/2015     1232       BONDED OUT               457 - A. SCRUGGS                                                                        3 days

                  Offense Date     Cnt       Statute        UCR       Type       Case No.
                   07/06/2015               39-17-425                 Misd.
   CHARGE




                  Charge
                  UNLAWFUL DRUG PARAPHERNALIA
     LOCATION




                     At/Near Offense Location               Arrest Location



                     Type          Company                                          Amount
    BOND




                     Other         J & B BONDING                                    $500.00

                  Date             Term
    DISPOSITION




                  Sentence




Eagle Advantage Solutions, Inc.
                                          Case 3:25-cv-00074-KAC-DCP                         Document 1-1            Filed 02/21/25          Page 4 of 15
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History Arrest/Booking Report                                                                                                       MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                           TN0540000
All history bookings for inmate #3775
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                           Defendant Name (Last, First Middle)                                Race                      Sex         DOB           Place of birth
                             JONES, JERROD IVAN                                                      Black/Non-Hisp.       Male                     ATHENS

                                                              Age at booking
                                                                                             Height Weight      Hair   Eyes   INS No                     Social Security No.
                                                              Current Age                     604       195    BRO     BRO                                   ** INFO WITHHELD **
                                                              Visible Scars and Marks                                         SID Number                 FBI Number
                                                                                                                              ** INFO WITHHELD **        ** INFO WITHHELD **

                                                              Address                                                                                    Phone Number
                                                              231 WOODWARD AVE                                                                           (423) 999-3132
                                                              ATHENS, TN 37303                                                              DLN - State 117079392
PERSONAL DATA




                           Photo ID                           Alias(es)
                           34510

                           Last Known Employer                Arresting Agency                                                Arresting Officer No. / Name
                           DYNASTY SPAS                       APD - ATHENS POLICE DEPARTMENT                                  135 - ADAMS

                           Booking Officer No. / Name                Fingerprinted by Officer No. / Name         OCA                              OTN
                           461 - M. MOSES                            461 - M. MOSES                                                               ** INFO WITHHELD **
                           Arrest Date / Time         Book Date / Time         Location(s)
                            01/01/2016      0420       01/01/2016    0439

                           Classification             Classification Officer No. / Name         Class. Date      Classification Remarks
                           MINIMUM                    461 - M. MOSES
                           Remarks
RELEASE




                           Release Date / Time        Release Type             Releasing Officer                        Remarks                                        Time Served
                            01/01/2016     0621       OWN RECOGNIZANC          461 - M. MOSES                                                                          0 days

                           Offense Date     Cnt       Statute       UCR        Type       Case No.
                            01/01/2016       1       55-50-504                 Misd.
   CHARGE




                           Charge
                           DRIVING ON SUSPENDED DL
    DISPOSITION LOCATION




                              At/Near Offense Location               Arrest Location



                           Date             Term

                           Sentence




Eagle Advantage Solutions, Inc.
                                                   Case 3:25-cv-00074-KAC-DCP                         Document 1-1            Filed 02/21/25          Page 5 of 15
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History Arrest/Booking Report                                                                                                         MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                             TN0540000
All history bookings for inmate #3775
Report generated on                               Wednesday January 2 2019 12:48 PM                                                                                         Page 6 of 15

                           Defendant Name (Last, First Middle)                                  Race                      Sex         DOB           Place of birth
                             JONES, JERROD IVAN                                                        Black/Non-Hisp.       Male                     ATHENS

                                                                Age at booking
                                                                                               Height Weight      Hair   Eyes   INS No                     Social Security No.
                                                                Current Age                     604       195    BRO     BRO                                   ** INFO WITHHELD **
                                                                Visible Scars and Marks                                         SID Number                 FBI Number
                                                                                                                                ** INFO WITHHELD **        ** INFO WITHHELD **

                                                                Address                                                                                    Phone Number
                                                                231 WOODWARD AVE                                                                           (423) 999-3132
                                                                ATHENS, TN 37303                                                              DLN - State 117079392
PERSONAL DATA




                           Photo ID                             Alias(es)
                           36051

                           Last Known Employer                  Arresting Agency                                                Arresting Officer No. / Name
                           DYNASTY SPAS                         APD - ATHENS POLICE DEPARTMENT                                  122 - THOMPSON

                           Booking Officer No. / Name                  Fingerprinted by Officer No. / Name         OCA                              OTN
                           7144 - MORGAN                               7144 - MORGAN                                                                ** INFO WITHHELD **
                           Arrest Date / Time           Book Date / Time         Location(s)
                            05/17/2016      1410         05/17/2016    1419

                           Classification               Classification Officer No. / Name         Class. Date      Classification Remarks
                           MINIMUM                      7144 - MORGAN
                           Remarks
RELEASE




                           Release Date / Time          Release Type             Releasing Officer                        Remarks                                        Time Served
                            06/05/2016     0001         SERVED SENTENCE          3273 - H. LANEY                                                                         19 days

                           Offense Date     Cnt          Statute      UCR        Type       Case No.
                            05/17/2016                  TITLE 30                 Misd.
   CHARGE




                           Charge
                           VIOLATION OF PROBATION MISDEMEANOR POSS DRUG PARA (15-
                           CR-1691)
    DISPOSITION LOCATION




                              At/Near Offense Location                 Arrest Location



                           Date             Term
                            05/26/2016      30 day(s)
                           Sentence
                           TO SERVE CFTS




Eagle Advantage Solutions, Inc.
                                                  Case 3:25-cv-00074-KAC-DCP                            Document 1-1            Filed 02/21/25          Page 6 of 15
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History Arrest/Booking Report                                                                                                       MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                           TN0540000
All history bookings for inmate #3775
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                           Defendant Name (Last, First Middle)                                Race                      Sex         DOB           Place of birth
                             JONES, JERROD IVAN                                                      Black/Non-Hisp.       Male                     ATHENS

                                                              Age at booking
                                                                                            Height Weight       Hair   Eyes   INS No                     Social Security No.
                                                              Current Age                    604        195    BRO     BRO                                   ** INFO WITHHELD **
                                                              Visible Scars and Marks                                         SID Number                 FBI Number
                                                                                                                              ** INFO WITHHELD **        ** INFO WITHHELD **

                                                              Address                                                                                    Phone Number
                                                              231 WOODWARD AVE                                                                           (423) 999-3132
                                                              ATHENS, TN 37303                                                              DLN - State 117079392
PERSONAL DATA




                           Photo ID                           Alias(es)
                           36267

                           Last Known Employer                Arresting Agency                                                Arresting Officer No. / Name
                           DYNASTY SPAS                       APD - ATHENS POLICE DEPARTMENT                                  132 - WILLIAMSON

                           Booking Officer No. / Name                Fingerprinted by Officer No. / Name         OCA                              OTN
                           8819 - A. SCRUGGS                         1117 - M. WILLIAMS                                                           ** INFO WITHHELD **
                           Arrest Date / Time         Book Date / Time         Location(s)
                            06/07/2016      1825       06/07/2016    1825      INGLES PARKING LOT

                           Classification             Classification Officer No. / Name         Class. Date      Classification Remarks
                           MINIMUM                    8819 - A. SCRUGGS
                           Remarks
RELEASE




                           Release Date / Time        Release Type             Releasing Officer                        Remarks                                        Time Served
                            06/08/2016     1132       SERVED SENTENCE          6769 - M. COOK                           RL ON TIME SERVED                              1 days

                           Offense Date     Cnt       Statute       UCR        Type       Case No.
                            06/07/2016               39-16-609                 Misd.
   CHARGE




                           Charge
                           FAILURE TO APPEAR
    DISPOSITION LOCATION




                              At/Near Offense Location               Arrest Location



                           Date             Term
                            06/08/2016
                           Sentence
                           WARRANT WAS NOT RECALLED. RELEASE ON T/S




Eagle Advantage Solutions, Inc.
                                                   Case 3:25-cv-00074-KAC-DCP                         Document 1-1            Filed 02/21/25          Page 7 of 15
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History Arrest/Booking Report                                                                                                                                   MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                                                      TN0540000
All history bookings for inmate #3775
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                           Defendant Name (Last, First Middle)                                Race                                              Sex          DOB            Place of birth
                             JONES, JERROD IVAN                                                      Black/Non-Hisp.                                Male                      ATHENS

                                                              Age at booking
                                                                                            Height Weight                              Hair   Eyes      INS No                      Social Security No.
                                                              Current Age                    604        195                            BRO      BRO                                    ** INFO WITHHELD **
                                                              Visible Scars and Marks                                                                   SID Number                  FBI Number
                                                                                                                                                        ** INFO WITHHELD **         ** INFO WITHHELD **

                                                              Address                                                                                                               Phone Number
                                                              231 WOODWARD AVE                                                                                                      (423) 999-3132
                                                              ATHENS, TN 37303                                                                                         DLN - State 117079392
PERSONAL DATA




                           Photo ID                           Alias(es)
                           37446

                           Last Known Employer                Arresting Agency                                                                          Arresting Officer No. / Name
                           DYNASTY SPAS                       APD - ATHENS POLICE DEPARTMENT                                                            129 - A.ESTEP

                           Booking Officer No. / Name                Fingerprinted by Officer No. / Name                                OCA                                 OTN
                           4520 - S. GRAY                            7144 - C.MORGAN                                                                                        ** INFO WITHHELD **
                           Arrest Date / Time         Book Date / Time         Location(s)
                            09/26/2016      0007       09/26/2016    0045      CONGRESS PKWY

                           Classification             Classification Officer No. / Name         Class. Date                             Classification Remarks
                           MINIMUM                    4520 - S. GRAY
                           Remarks
RELEASE




                           Release Date / Time        Release Type             Releasing Officer                                                Remarks                                          Time Served
                            10/10/2016     0011       SERVED SENTENCE          4520 - S. GRAY                                                                                                    14 days

                           Offense Date     Cnt       Statute       UCR        Type       Case No.                                   Offense Date     Cnt        Statute      UCR        Type    Case No.
                            09/26/2016               39-14-103                 Misd.                                                  09/26/2016                TITLE 30                 Misd.
   CHARGE




                                                                                                              CHARGE




                           Charge                                                                                                    Charge
                           THEFT OF PROPERTY (OVER 500)                                                                              VIOLATION OF PROBATION MISDEMEANOR POSS OF PARA
    DISPOSITION LOCATION




                                                                                                              DISPOSITION LOCATION




                              At/Near Offense Location               Arrest Location                                                    At/Near Offense Location              Arrest Location



                           Date             Term                                                                                     Date           Term
                            10/06/2016                                                                                                10/06/2016    45 day(s)
                           Sentence                                                                                                  Sentence
                           CAN BE RL ON CITATION                                                                                     TO SERVE




Eagle Advantage Solutions, Inc.
                                                   Case 3:25-cv-00074-KAC-DCP                         Document 1-1                                     Filed 02/21/25           Page 8 of 15
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History Arrest/Booking Report                                                                                                                               MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                                                    TN0540000
All history bookings for inmate #3775
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                           Defendant Name (Last, First Middle)                                Race                                              Sex        DOB            Place of birth
                             JONES, JERROD IVAN                                                      Black/Non-Hisp.                                Male                    ATHENS

                                                              Age at booking
                                                                                             Height Weight                             Hair   Eyes    INS No                      Social Security No.
                                                              Current Age                     604       195                            BRO    BRO                                    ** INFO WITHHELD **
                                                              Visible Scars and Marks                                                                 SID Number                  FBI Number
                                                                                                                                                      ** INFO WITHHELD **         ** INFO WITHHELD **

                                                              Address                                                                                                             Phone Number
                                                              231 WOODWARD AVE                                                                                                    (423) 999-3132
                                                              ATHENS, TN 37303                                                                                      DLN - State 117079392
PERSONAL DATA




                           Photo ID                           Alias(es)
                           37610

                           Last Known Employer                Arresting Agency                                                                        Arresting Officer No. / Name
                           DYNASTY SPAS                       APD - ATHENS POLICE DEPARTMENT                                                          128 - WEIR

                           Booking Officer No. / Name                Fingerprinted by Officer No. / Name                                OCA                               OTN
                           7444 - W. STEWART                         5355 - D. SAXE                                                                                       ** INFO WITHHELD **
                           Arrest Date / Time         Book Date / Time         Location(s)
                            10/11/2016      1900       10/11/2016    2215

                           Classification             Classification Officer No. / Name         Class. Date                             Classification Remarks
                           MEDIUM                     7444 - W. STEWART
                           Remarks
RELEASE




                           Release Date / Time        Release Type             Releasing Officer                                                Remarks                                        Time Served
                            10/20/2016     1821       SERVED SENTENCE          4929 - L. RUEBUSH                                                                                               9 days

                           Offense Date     Cnt       Statute       UCR        Type       Case No.                                   Offense Date   Cnt      Statute        UCR        Type    Case No.
                            10/11/2016       1       39-17-305                 Misd.                                                  10/14/2016            TITLE 30                   Misd.
   CHARGE




                                                                                                              CHARGE




                           Charge                                                                                                    Charge
                           DISORDERLY CONDUCT                                                                                        VIOLATION OF PROBATION MISDEMEANOR POSS OD DRUG PARA
    DISPOSITION LOCATION




                                                                                                              DISPOSITION LOCATION




                              At/Near Offense Location               Arrest Location                                                    At/Near Offense Location            Arrest Location



                           Date             Term                                                                                     Date           Term
                            10/20/2016                                                                                                10/20/2016
                           Sentence                                                                                                  Sentence
                           DISMISSED                                                                                                 DISMISSED RL BACK TO PROBATION




Eagle Advantage Solutions, Inc.
                                                   Case 3:25-cv-00074-KAC-DCP                         Document 1-1                                    Filed 02/21/25          Page 9 of 15
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History Arrest/Booking Report                                                                                                                                     MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                                                      TN0540000
All history bookings for inmate #3775
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                           Defendant Name (Last, First Middle)                                  Race                                              Sex         DOB            Place of birth
                             JONES, JERROD IVAN                                                        Black/Non-Hisp.                                Male                     ATHENS

                                                                Age at booking
                                                                                              Height Weight                              Hair   Eyes    INS No                       Social Security No.
                                                                Current Age                    604        195                            BRO    BRO                                    ** INFO WITHHELD **
                                                                Visible Scars and Marks                                                                 SID Number                   FBI Number
                                                                                                                                                        ** INFO WITHHELD **          ** INFO WITHHELD **

                                                                Address                                                                                                              Phone Number
                                                                231 WOODWARD AVE                                                                                                     (423) 999-3132
                                                                ATHENS, TN 37303                                                                                         DLN - State 117079392
PERSONAL DATA




                           Photo ID                             Alias(es)
                           38273

                           Last Known Employer                  Arresting Agency                                                                        Arresting Officer No. / Name
                           DYNASTY SPAS                         APD - ATHENS POLICE DEPARTMENT                                                          122 - THOMPSON

                           Booking Officer No. / Name                  Fingerprinted by Officer No. / Name                                OCA                                OTN
                           4520 - S. GRAY                              4520 - S. GRAY                                                                                        ** INFO WITHHELD **
                           Arrest Date / Time           Book Date / Time         Location(s)
                            12/16/2016      1550         12/16/2016    1635      FORREST HILLS

                           Classification               Classification Officer No. / Name         Class. Date                             Classification Remarks
                           MEDIUM                       4520 - S. GRAY
                           Remarks
RELEASE




                           Release Date / Time          Release Type             Releasing Officer                                                Remarks                                         Time Served
                            01/07/2017     0012         SERVED SENTENCE          1117 - M. WILLIAMS                                               RL TO T/S                                       22 days

                           Offense Date     Cnt      Statute          UCR        Type       Case No.                                   Offense Date   Cnt          Statute     UCR       Type     Case No.
                            12/16/2016       1      39-16-502                    Misd.                                                  12/19/2016     1          TITLE 30               Misd.
   CHARGE




                                                                                                                CHARGE




                           Charge                                                                                                      Charge
                           FALSE REPORTS                                                                                               VIOLATION OF PROBATION MISDEMEANOR DRUG PARA , DOSL
    DISPOSITION LOCATION




                                                                                                                DISPOSITION LOCATION




                              At/Near Offense Location                 Arrest Location                                                    At/Near Offense Location              Arrest Location



                           Date             Term                                                                                       Date           Term
                            12/29/2016      60 day(s)                                                                                   12/29/2016    60 day(s)
                           Sentence                                                                                                    Sentence
                           REDUCED TO RESISTING ARREST 6 MONTHS SUSP AFTER SERVING                                                     REINSTATE BACK TO PROBATION AFTER SERVING




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History Arrest/Booking Report                                                                                                       MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                          TN0540000
All history bookings for inmate #3775
Report generated on                                Wednesday January 2 2019 12:48 PM                                                                                    Page 11 of 15

                           Defendant Name (Last, First Middle)                                Race                      Sex         DOB           Place of birth
                             JONES, JERROD IVAN                                                      Black/Non-Hisp.       Male                     ATHENS

                                                              Age at booking
                                                                                             Height Weight      Hair   Eyes   INS No                     Social Security No.
                                                              Current Age                     604       195    BRO     BRO                                   ** INFO WITHHELD **
                                                              Visible Scars and Marks                                         SID Number                 FBI Number
                                                                                                                              ** INFO WITHHELD **        ** INFO WITHHELD **

                                                              Address                                                                                    Phone Number
                                                              231 WOODWARD AVE                                                                           (423) 999-3132
                                                              ATHENS, TN 37303                                                              DLN - State 117079392
PERSONAL DATA




                           Photo ID                           Alias(es)


                           Last Known Employer                Arresting Agency                                                Arresting Officer No. / Name
                           DYNASTY SPAS                       APD - ATHENS POLICE DEPARTMENT                                  126 - TALLANT

                           Booking Officer No. / Name                Fingerprinted by Officer No. / Name         OCA                              OTN
                           1742 - D. HANEY                           1742 - D. HANEY                                                              ** INFO WITHHELD **
                           Arrest Date / Time         Book Date / Time         Location(s)
                            03/08/2017      0910       03/08/2017    0941

                           Classification             Classification Officer No. / Name         Class. Date      Classification Remarks
                           MEDIUM                     1742 - D. HANEY
                           Remarks
RELEASE




                           Release Date / Time        Release Type             Releasing Officer                        Remarks                                        Time Served
                            03/08/2017     1452       COURT                    1742 - D. HANEY                                                                         0 days

                           Offense Date     Cnt       Statute        UCR       Type       Case No.
                            03/08/2017               39-14-405                 Misd.
   CHARGE




                           Charge
                           CRIMINAL TRESPASS
    DISPOSITION LOCATION




                              At/Near Offense Location               Arrest Location



                           Date             Term

                           Sentence




Eagle Advantage Solutions, Inc.
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History Arrest/Booking Report                                                                                                      MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                         TN0540000
All history bookings for inmate #3775
Report generated on                               Wednesday January 2 2019 12:48 PM                                                                                    Page 12 of 15

                           Defendant Name (Last, First Middle)                               Race                      Sex         DOB           Place of birth
                             JONES, JERROD IVAN                                                     Black/Non-Hisp.       Male                     ATHENS

                                                             Age at booking
                                                                                            Height Weight      Hair   Eyes   INS No                     Social Security No.
                                                             Current Age                     604       195    BRO     BRO                                   ** INFO WITHHELD **
                                                             Visible Scars and Marks                                         SID Number                 FBI Number
                                                                                                                             ** INFO WITHHELD **        ** INFO WITHHELD **

                                                             Address                                                                                    Phone Number
                                                             231 WOODWARD AVE                                                                           (423) 999-3132
                                                             ATHENS, TN 37303                                                              DLN - State 117079392
PERSONAL DATA




                           Photo ID                          Alias(es)
                           39716

                           Last Known Employer               Arresting Agency                                                Arresting Officer No. / Name
                           DYNASTY SPAS                      APD - ATHENS POLICE DEPARTMENT                                  124 - QUEEN

                           Booking Officer No. / Name               Fingerprinted by Officer No. / Name         OCA                              OTN
                           7251 - H. TROUTMAN                       7251 - H. TROUTMAN                                                           ** INFO WITHHELD **
                           Arrest Date / Time        Book Date / Time         Location(s)
                            04/26/2017      2340      04/26/2017    2347

                           Classification            Classification Officer No. / Name         Class. Date      Classification Remarks
                           MINIMUM                   7251 - H. TROUTMAN
                           Remarks
RELEASE




                           Release Date / Time       Release Type             Releasing Officer                        Remarks                                        Time Served
                            07/28/2017     0634      SERVED SENTENCE          2301 - B. BUCKNA                         REL 75%                                        93 days

                           Offense Date     Cnt      Statute       UCR        Type       Case No.
                            04/26/2017              TITLE 30                  Misd.
   CHARGE




                           Charge
                           VIOLATION OF PROBATION MISDEMEANOR
    DISPOSITION LOCATION




                              At/Near Offense Location              Arrest Location



                           Date             Term
                            05/04/2017      6 month(s)
                           Sentence
                           TO SERVE TO FLATTEN




Eagle Advantage Solutions, Inc.
                                                  Case 3:25-cv-00074-KAC-DCP                        Document 1-1             Filed 02/21/25         Page 12 of 15
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History Arrest/Booking Report                                                                                                        MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                           TN0540000
All history bookings for inmate #3775
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                           Defendant Name (Last, First Middle)                                 Race                      Sex         DOB           Place of birth
                             JONES, JERROD IVAN                                                       Black/Non-Hisp.       Male                     ATHENS

                                                               Age at booking
                                                                                             Height Weight       Hair   Eyes   INS No                     Social Security No.
                                                               Current Age                    604        195    BRO     BRO                                   ** INFO WITHHELD **
                                                               Visible Scars and Marks                                         SID Number                 FBI Number
                                                                                                                               ** INFO WITHHELD **        ** INFO WITHHELD **

                                                               Address                                                                                    Phone Number
                                                               231 WOODWARD AVE                                                                           (423) 999-3132
                                                               ATHENS, TN 37303                                                              DLN - State 117079392
PERSONAL DATA




                           Photo ID                            Alias(es)
                           42055

                           Last Known Employer                 Arresting Agency                                                Arresting Officer No. / Name
                           DYNASTY SPAS                        APD - ATHENS POLICE DEPARTMENT                                  127 - CARDIN

                           Booking Officer No. / Name                 Fingerprinted by Officer No. / Name         OCA                              OTN
                           9748 - B. CANTRELL                         9748 - B. CANTRELL                                                           ** INFO WITHHELD **
                           Arrest Date / Time          Book Date / Time         Location(s)
                            12/02/2017      1026        12/02/2017    1024      CHRIST COMMUNITY CHURCH

                           Classification              Classification Officer No. / Name         Class. Date      Classification Remarks
                           MEDIUM                      9748 - B. CANTRELL
                           Remarks
RELEASE




                           Release Date / Time         Release Type             Releasing Officer                        Remarks                                        Time Served
                            12/06/2017     1329        SERVED SENTENCE          9748 - B. CANTRELL                                                                      4 days

                           Offense Date     Cnt         Statute      UCR        Type       Case No.
                            12/02/2017       1         39-14-103                Misd.
   CHARGE




                           Charge
                           THEFT OF PROPERTY (UNDER 500)
    DISPOSITION LOCATION




                              At/Near Offense Location                Arrest Location



                           Date             Term
                            12/06/2017      4 day(s)
                           Sentence
                           11/29 SUSP ON SERVING




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History Arrest/Booking Report                                                                                                                MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                                    TN0540000
All history bookings for inmate #3775
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                  Defendant Name (Last, First Middle)                                 Race                                      Sex         DOB            Place of birth
                    JONES, JERROD IVAN                                                      Black/Non-Hisp.                        Male                      ATHENS

                                                     Age at booking
                                                                                    Height Weight                     Hair     Eyes    INS No                      Social Security No.
                                                     Current Age                     604        195                   BRO      BRO                                    ** INFO WITHHELD **
                                                     Visible Scars and Marks                                                           SID Number                  FBI Number
                                                                                                                                       ** INFO WITHHELD **         ** INFO WITHHELD **

                                                     Address                                                                                                       Phone Number
                                                     231 WOODWARD AVE                                                                                              (423) 999-3132
                                                     ATHENS, TN 37303                                                                                DLN - State 117079392
PERSONAL DATA




                  Photo ID                           Alias(es)
                  42355

                  Last Known Employer                Arresting Agency                                                                  Arresting Officer No. / Name
                  DYNASTY SPAS                       MCSO - MCMINN CO SHERIFF'S DEPARTMENT                                             491 - B. JONES

                  Booking Officer No. / Name                Fingerprinted by Officer No. / Name                        OCA                                 OTN
                  6686 - L. GREEN                           6686 - L. GREEN                                                                                ** INFO WITHHELD **
                  Arrest Date / Time         Book Date / Time         Location(s)
                   01/03/2018      2009       01/03/2018    2008

                  Classification             Classification Officer No. / Name          Class. Date                    Classification Remarks
                  MEDIUM                     6686 - L. GREEN                            01/03/2018
                  Remarks
RELEASE




                  Release Date / Time        Release Type             Releasing Officer                                         Remarks                                         Time Served
                   01/07/2018     0036       BONDED OUT               7400 - M. JOE                                             RL BAILFAST                                     4 days

                  Offense Date     Cnt       Statute        UCR       Type       Case No.                           Offense Date     Cnt      Statute        UCR        Type    Case No.
                   01/03/2018       1       39-14-146                 Misd.                                          01/03/2018       1      TITLE 30                   Misd.
   CHARGE




                                                                                                      CHARGE




                  Charge                                                                                            Charge
                  SHOPLIFTING-THEFT OF PROPERTY                                                                     VIOLATION OF PROBATION MISDEMEANOR
     LOCATION




                                                                                                      LOCATION




                     At/Near Offense Location               Arrest Location                                            At/Near Offense Location              Arrest Location



                     Type          Company                                           Amount                            Type        Company                                          Amount
    BOND




                                                                                                      BOND




                     Other         BAILFAST                                         $1,000.00                          Cash                                                         $556.45

                  Date             Term                                                                             Date           Term
    DISPOSITION




                                                                                                      DISPOSITION




                  Sentence                                                                                          Sentence




Eagle Advantage Solutions, Inc.
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History Arrest/Booking Report                                                                                                                               MCMINN CO SHERIFF'S OFFICE
                                                                                                                                                                                                   TN0540000
All history bookings for inmate #3775
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                           Defendant Name (Last, First Middle)                                Race                                              Sex        DOB            Place of birth
                             JONES, JERROD IVAN                                                      Black/Non-Hisp.                                Male                    ATHENS

                                                              Age at booking
                                                                                             Height Weight                             Hair   Eyes    INS No                      Social Security No.
                                                              Current Age                     604       195                            BRO    BRO                                    ** INFO WITHHELD **
                                                              Visible Scars and Marks                                                                 SID Number                  FBI Number
                                                                                                                                                      ** INFO WITHHELD **         ** INFO WITHHELD **

                                                              Address                                                                                                             Phone Number
                                                              231 WOODWARD AVE                                                                                                    (423) 999-3132
                                                              ATHENS, TN 37303                                                                                      DLN - State 117079392
PERSONAL DATA




                           Photo ID                           Alias(es)
                           42620

                           Last Known Employer                Arresting Agency                                                                        Arresting Officer No. / Name
                           DYNASTY SPAS                       MCSO - MCMINN CO SHERIFF'S DEPARTMENT                                                   491 - B. JONES

                           Booking Officer No. / Name                Fingerprinted by Officer No. / Name                                OCA                               OTN
                           1117 - M. WILLIAMS                        1117 - M. WILLIAMS                                                                                   ** INFO WITHHELD **
                           Arrest Date / Time         Book Date / Time         Location(s)
                            01/29/2018      1108       01/29/2018    1108

                           Classification             Classification Officer No. / Name         Class. Date                             Classification Remarks
                           MEDIUM                     1117 - M. WILLIAMS
                           Remarks
RELEASE




                           Release Date / Time        Release Type             Releasing Officer                                                Remarks                                        Time Served
                            02/08/2018     2219       COURT                    7400 - M. JOE                                                    RL CITATION                                    10 days

                           Offense Date     Cnt       Statute        UCR        Type      Case No.                                   Offense Date   Cnt      Statute        UCR        Type    Case No.
                            01/29/2018               39-14-403                 Felony                                                 02/08/2018            TITLE 30                   Misd.
   CHARGE




                                                                                                              CHARGE




                           Charge                                                                                                    Charge
                           AGGRAVATED BURGLARY THEFT OF PROPERTY OVER 1,000                                                          VIOLATION OF PROBATION MISDEMEANOR SHOPLIFTING
    DISPOSITION LOCATION




                                                                                                              DISPOSITION LOCATION




                              At/Near Offense Location               Arrest Location                                                    At/Near Offense Location            Arrest Location



                           Date             Term                                                                                     Date           Term

                           Sentence                                                                                                  Sentence
                           RL ON CITATION                                                                                            RL ON CITATION




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